    Case 1:18-cv-10230-KMW-SLC                   Document 179        Filed 09/26/24     Page 1 of 1


                                                                      USDCSDNY
                                                                      DOCUMENT
UNITED STATES DISTRICT COURT                                          ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                         DOC #: - - - - - - -
---------------------------------------------------------------X      DATE FILED:. September 26, 2024

FELIX NKANSAH,

                                   Plaintiff,                           18-CV-10230 (KMW)

                 v.                                                            ORDER


UNITED STATES OF AMERICA,

                                    Defendant.
---------------------------------------------------------------X

KIMBA M. WOOD, United States District Judge:

        On September 19, 2024, the Court granted a request for an extension of time made by

Plaintiff’s counsel Rehan Nazrali to notify the Court by September 23, 2024 if Plaintiff’s counsel

intends to advance any of the claims raised in Plaintiff’s pro se letter. (Order, ECF No. 178.)

The Court has not received a response from Plaintiff’s counsel. Plaintiff’s counsel is directed to

file a letter complying with the Court’s September 19, 2024 Order by October 2, 2024. If

Plaintiff’s counsel does not submit a letter by that date, the Court will assume Plaintiff’s counsel

does not intend to advance any claims raised in Plaintiff’s letter.



          SO ORDERED.

  Dated: New York, New York
         September 26, 2024                                            /s/ Kimba M. Wood
                                                                      KIMBA M. WOOD
                                                                   United States District Judge
